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                 Exhibit 4
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 6 Facsimile: (314) 241-3525                         700 17th Street, Suite 1600
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13

14
                        UNITED STATES DISTRICT COURT
15          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16                                                  CASE NO. 4:20-cv-3919-CW
17 IN RE COLLEGE ATHLETE NIL
   LITIGATION                                       DECLARATION OF JAMES OKONKWO IN
18
                                                    SUPPORT OF MOTION FOR ADMINISTRATIVE
19                                                  RELIEF TO BE ADDED TO THE OPT-OUT LIST
20

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                                                              NO. 4:20-cv-3919-CW
                                   DECLARATION OF JAMES OKONKWO
    Case 4:20-cv-03919-CW            Document 795-4          Filed 04/14/25      Page 3 of 4
        I, James Okonkwo, hereby declare as follows:

        1.      I am a former basketball player at West Virginia University from from 2021

        to 2023, at North Carolina University from 2023 to 2024, and at Akron University

        from 2024 to 2025.

        2.      I submit this declaration in support of my request to be added to the opt-out

        list for the proposed settlement in this case.

        3.      I am personally familiar with the facts set forth in this Declaration. If called

        as a witness, I could and would competently testify to the matters stated herein.

        4.      I mailed a completed opt-out request to the Claims Administrator on

        January 31, 2025. Attached is the opt-out request that I signed and mailed.

        5.      I personally deposited my opt-out request into a mailbox on South

        Broadway Street in Akron, Ohio, at approximately 4:15 PM on January 31, 2025,

        after first confirming the mailbox had a pick up time later in the day so that the

        envelope would be picked up and postmarked January 31.

        6.      After depositing my opt-out request I immediately texted my attorney, Chris

        Macke, and told him I had just mailed it.

        7.      I understand that my name does not show up on the list of opt-outs

        submitted by the Claims Administrator.

        8.      I ask that the Court honor my request and add me to the opt-out list for the

        case.



        I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 14, 2025,




                                             James                 Okonkwo


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To:    House v NCAA Settlement Administrator

       P.O. Box 301134

       Los Angeles, CA 90030-1134



My name is: James Okonkwo

My current address is: 22 E Exchange Street, Akron, Ohio, 44308

My NCAA EC ID number is: 2105176927



II want to opt out from the damages classes in In re: College Athlete NIL Litigation,

Case No. 4:20-cv-03919.
